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UNITED STATES OF AMERICA,
Plaintiff,

vs. Civ. No. 05-20211-D[P

JOHN SIMMONS.

Defendant.

 

ORDER GRANTING METROPOLITAN CORRECTIONAL CENTER'S (MCC) REQUEST
FOR AN EXTENSION OF TIME TO COMPLETE MENTAL EVALUATION

 

Before the court is MCC’s request for extension of time to
evaluate John Simmons pursuant to Title 18, U.S.C. § 4241. For
good cause shown, and neither the government nor defense counsel
objecting thereto, the request is GRANTED. MCC shall have an
additional 15 days to complete the evaluation.

Time is excluded pursuant to the Speedy Trial Act, 18 U.S.C.
§ 316l(h)(1)(A).

IT IS SO ORDERED.

 

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Th\s document entered on the dockets 5 W/TU M' PHAM
MmRUe55NWK"33mFRCPO“ 9 United States Magistrate Judge

 

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Honorable Tu Pham
US DISTRICT COURT

